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                      Exhibit 4
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                                                                                        CONFIDENTIAL




Binance.US
Seed Round Pitch Deck

September 2021
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           Pages Omitted
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                 Product Superiority                                                                                                                             CONFIDENTIAL    10




 Binance.US – named Forbes’ “Best Overall Crypto Exchange” in 2021



     Advanced trading engine, capable of                      A multitude of USD Fiat on/off ramps
                                                                                                                                           60+ crypto assets supported across
      processing more than 1.4 million                         including ACH deposit/withdrawals,
                                                                                                                                                    117 trading pairs
             orders per second                                  card purchases and wire transfers




                                                                                                                                          Robust compliance framework: KYC
     99.99% up time across all platforms                          0 security breaches since launch in                                       checks, AML screens, on-chain
            - web, app and API                                               October 2019                                                 monitoring, trade surveillance, risk
                                                                                                                                                  management, etc.



Forbes link: https://www.forbes.com/advisor/investing/best-crypto-exchanges/
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            Compliance                                                                                                                CONFIDENTIAL     11




Binance.US deploys both human intelligence (~20% of US FTEs in Compliance
and Risk) and artificial intelligence / computing power to ensure highest level of
compliance


                                  Anti Money Laundering (AML)                              Blockchain monitoring and    Trade surveillance, market
  Identity verification and KYC
                                           screening                                               analytics           manipulation, and transaction
(Know Your Customer) screening
                                                                                                                               monitoring
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           Pages Omitted
